                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                              Civil No. 5:20-cv-00336-D

SSG SHANE PAGE, BRITTANY PAGE,
SPC SPENSER GANSKE, EMILY
GANSKE, SFC CHRISTOPHER WILKES,
ASHLEY WILKES, CPL TIMOTHY
MURPHY, and KATELYN MURPHY,
individually and on behalf of others
similarly situated,

       Plaintiffs,

       vs.

CORVIAS GROUP, LLC, BRAGG
COMMUNITIES, LLC, CORVIAS
MANAGEMENT-ARMY, LLC, BRAGG-
PICERNE PARTNERS, LLC, CORVIAS
MILITARY LIVING, LLC, and CORVIAS
CONSTRUCTION, LLC,

       Defendants.


                            NOTICE OF PARTIAL DISMISSAL
                             (John Picerne and Heather Fuller)

       Plaintiffs hereby memorialize the dismissal of their claims against Defendants John Picerne

and Heather Fuller without prejudice pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i) as per their first

amended complaint filed at Doc. 30.

       This notice of dismissal is only partial; all claims as to all remaining Defendants remain

pending.




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Dated: September 1, 2020.



                                    PENRY | RIEMANN PLLC

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                                    BAUER & METRO, PC

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                                    Appearing pursuant to Local Rule 83.1(e)

                                    WALLACE & GRAHAM, PA

                                    /s/ John Hughes
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                                    John Hughes
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on September 1, 2020, I electronically filed this document with the

Clerk of the Court using the CM/ECF system which will send notification of such filing to all

counsel of record in this case.

Dated: September 1, 2020

                                             Respectfully submitted,

                                             s/John Hughes
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